Case 2:19-mj-04441-DUTY Document 3 Filed 11/01/19 Pagelof1 Page ID#:61

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
2: \F-M3-O44YI] — 10/25/a014 at 9:29 a.m. _N/D

 

Inventory made in the presence of :

Ni

. | Inventory of the property taken and name of any person(s) seized:
~ GPS] Cell “Ste iaFocerohon for telephone +.
° 213-436 - 903]

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nelephone 4. 213-434-903)

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throwgh Oclaber 24 2019
(23556: 11 utc)

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

pate 16/3] | 2019 Auchaol We

Executing offi icer’'s signature

Michae) Tohns6n, Special Agent

Printed name and title

 

 

 

 
